               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MAXWELL KADEL, et al.,

                          Plaintiffs,

                     v.                      Case No. 1:19-cv-00272-LCB-LPA

DALE FOLWELL, in his official capacity as
State Treasurer of North Carolina, et al.,

                          Defendants.


       PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
   MOTION TO EXCLUDE EXPERT TESTIMONY OF DR. PETER ROBIE




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       Now come Plaintiffs, by and through their counsel, and respectfully submit this

Memorandum of Law in support of their Motion to Exclude the expert testimony of Dr.

Peter Robie.

I.     NATURE OF THE CASE AND FACTUAL BACKGROUND

       Plaintiffs are current or former participants in the North Carolina State Health Plan

for Teachers and State Employees (“State Health Plan”). As part of compensation for

employment, the State of North Carolina (“State”) provides health coverage to employees

and their dependents through the State Health Plan. Some employees and their dependents,

however, receive less compensation than others: those denied coverage for the

gender-affirming care that transgender people require. The State Health Plan contains

sweeping exclusions of such care, while covering the same kinds of treatments for

cisgender employees who require them for other reasons. Defendants thus deny equal

treatment to employees who are transgender or have transgender dependents, and harm

transgender family members who depend on employees for health care coverage.

II.    PROCEDURAL BACKGROUND

       Pursuant to the Parties’ Rule 26(f) Joint Report, adopted by this Court on August

13, 2020, Plaintiffs identified and disclosed expert reports for Dr. George R. Brown and

Dr. Loren S. Schechter. On May 1, 2021, Defendants Dale Folwell, Dee Jones, and the

State Health Plan (collectively, “Health Plan Defendants”) identified and disclosed reports

from the following experts: Dr. Paul R. McHugh, Dr. Paul W. Hruz, Dr. Stephen B. Levine,

and Dr. Patrick W. Lappert. In addition, the Health Plan Defendants identified Defendant


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Folwell, Defendant Jones, and Dr. Peter W. Robie as experts, but, as permitted by Rule

26(a)(2), they did not disclose any reports. 1   Subsequently, Plaintiffs identified and

disclosed expert rebuttal reports for Dr. Randi Ettner, Dr. Dan Karasic, and Dr. Johanna

Olson-Kennedy.

      The Health Plan Defendants identified Dr. Robie to provide expert testimony on the

following issues: (1) “the Board[] [of Trustees’] consideration of requests that the Plan

eliminate the current coverage exclusion for gender transition surgery and related hormone

treatment”; (2) “the medical knowledge he has shared with other Board members”; and (3)

Dr. Robie’s opinion that, “in order to provide diagnostic and medical treatment that meets

a professional standard of care, primary care physicians must know the chromosomal sex

of patients.” 2 Disclosure of Expert Witnesses Who Do Not Provide a Written Report

Pursuant to Fed. R. Civ. P. 26(a)(2) by Defs. Dale Folwell, Dee Jones, and the North

Carolina State Health Plan for Teachers and State Employees 6, May 1, 2021.

      Plaintiffs now move to exclude Dr. Robie’s opinions and testimony under Daubert

v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), and its progeny, because Dr. Robie is

not qualified to opine about gender dysphoria or its treatment, and his opinions and



1
 Defendant North Carolina Department of Public Safety also identified and disclosed an
expert report, but those disclosures are not subject to Plaintiffs’ Motion.
2
 A true and accurate copy of the May 1, 2021 Disclosure of Expert Witnesses Who Do
Not Provide a Written Report Pursuant to Fed. R. Civ. P. 26(A)(2) by Defendants Dale
Folwell, Dee Jones, and the North Carolina State Health Plan for Teachers and State
Employees (“State Health Plan Disclosures”) is attached as Exhibit A to the Declaration of
Deepika Ravi.
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testimony are neither relevant nor reliable. His opinions and testimony are likewise

inadmissible because any probative value is substantially outweighed by the danger of

unfair prejudice, confusion of the issues, waste of time, undue delay, and needless

presentation of cumulative evidence. Fed. R. Evid. 403.

III.    STATEMENT OF THE QUESTION PRESENTED

        Whether the testimony of Defendants’ expert Dr. Peter Robie should be excluded

because it is irrelevant, unreliable, and he is unqualified to offer it in accordance with

Daubert and the applicable Federal Rules of Evidence.

IV.     SUMMARY OF THE ARGUMENT

        This Court should disqualify Dr. Robie as an expert for a number of reasons.

        First, Dr. Robie is not qualified to provide the opinions identified in his disclosure

and deposition. Dr. Robie, who practices internal medicine, admits he is not an expert in

the diagnosis or treatment of gender dysphoria and has no other relevant experience with

diagnosis or treatment of gender dysphoria. Further, although Dr. Robie testified during

his deposition regarding the alleged cost of providing gender-confirming care, Dr. Robie

admits he is not an expert in the cost of treatment for gender dysphoria. Dr. Robie testified

regarding his friendship with Defendant Folwell, yet Dr. Robie’s personal relationship with

Defendant Folwell does not make him an expert on any matter at issue in this lawsuit.

Robie Dep. 18:18–19:7 (testifying that Dr. Robie and Defendant Folwell have “been

friends since the 1980s,” since Defendant Folwell became Dr. Robie’s patient).




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       Second, his opinions are not relevant to the issues to be addressed by this Court.

Although Dr. Robie has been designated to testify to the medical knowledge he has shared

with other members of the Board of Trustees (the “Board”) for the State Health Plan, Dr.

Robie testified that the medical knowledge he has shared with the Board pertains to issues

wholly unrelated to those before the Court—for example, coverage of continuous glucose

monitors for diabetic patients and biological agents for cancer treatment.

       Third, even if he were deemed a qualified expert with relevant opinions—and Dr.

Robie is not—his opinions are not based on scientific, technical, or other specialized

knowledge. Instead, they are based on his own ipse dixit and amount to no more than Dr.

Robie’s pure speculation. Dr. Robie admits that he has never taught on the subject of

gender dysphoria and has never conducted research or been published on this subject. And,

despite his forty-five years as a medical practitioner, Dr. Robie testified that only four of

his patients—all adults—have identified as transgender, to his knowledge.

       As Dr. Robie is not qualified to render the proffered opinions, they are neither

relevant nor reliable pursuant to the standards set forth in Daubert and its progeny. When

viewed in the context of Federal Rule of Evidence 403, any probative value of the opinions

is substantially outweighed by the danger of unfair prejudice, confusion of issues, waste of

time, undue delay, and needless presentation of cumulative evidence and this Court should

exclude them.




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V.     ARGUMENT

      Dr. Robie’s purported expert testimony should be excluded because it does not

meet any of the indicia for admissibility under Daubert and the Federal Rules of

Evidence.

       A.     Legal Standard

       Federal Rule of Evidence 702 places “a special gatekeeping obligation” on a trial

court to ensure that an expert’s testimony is “relevant to the task at hand” and “rests on a

reliable foundation.” Sardis v. Overhead Door Corp., 10 F.4th 268, 281 (4th Cir. 2021)

(quoting Nease v. Ford Motor Co., 848 F.3d 219, 229–30 (4th Cir. 2017)); Daubert, 509

U.S. at 597; see Fed. R. Evid. 702, Advisory Comm. Notes (2000 Amendments)

(amendment “affirms the trial court’s role as gatekeeper,” and that “all types of expert

testimony present questions of admissibility for the trial court in deciding whether the

evidence is reliable and helpful”). The party offering the expert—here, the Health Plan

Defendants—carries the burden of establishing the admissibility of an expert’s testimony

by a preponderance of the evidence. Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199

(4th Cir. 2001).

       The trial court’s initial step is to determine whether the proposed expert is qualified

to render the proffered opinion. In doing so, a trial court considers an expert’s professional

qualifications and the expert’s “full range of experience and training.” Belk, Inc. v. Meyer

Corp., U.S., 679 F.3d 146, 162 (4th Cir. 2012), as amended (May 9, 2012) (quoting United

States v. Pansier, 576 F.3d 726, 737 (7th Cir. 2009)). If the purported expert lacks the


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knowledge, skill, experience, training, or education on the issue for which the opinion is

proffered, the trial court must exclude the expert. See, e.g., Thomas J. Kline, Inc. v.

Lorillard, Inc., 878 F.2d 791, 799 (4th Cir. 1989).

       Even if the expert is deemed qualified, the trial court must consider the relevancy

of the expert’s testimony, as it is “a precondition to admissibility.” Sardis, 10 F.4th at 282

(quoting Daubert, 509 U.S. at 592). To be relevant, the testimony must have “a valid

scientific connection to the pertinent inquiry.” Sardis, 10 F.4th at 281 (quoting Belville v.

Ford Motor Co., 919 F.3d 224, 232 (4th Cir. 2019)) (“Simply put, if an opinion is not

relevant to a fact at issue, Daubert requires that it be excluded.”).

       Finally, if deemed relevant, the trial court will inquire if the opinion is based on a

reliable foundation, which focuses on “the principles and methodology” employed by the

expert to assess whether it is “based on scientific, technical, or other specialized knowledge

and not on belief or speculation.” Sardis, 10 F.4th at 281 (first quoting Daubert, 509 U.S.

at 594–95; and then quoting Oglesby v. Gen. Motors Corp., 190 F.3d 244, 250 (4th Cir.

1999)). When evaluating whether an expert’s methodology is reliable, a court considers,

among other things:

       (1) whether the expert’s theory or technique can be (and has been) tested; (2)
       whether the theory or technique has been subjected to peer review and
       publication; (3) the known or potential rate of error inherent in the expert’s
       theory or technique; and (4) whether the expert’s methodology is generally
       accepted in his field of expertise.

Sardis, 10 F.4th at 281 (quotation marks omitted) (quoting Nease, 848 F.3d at 229); see

also Kumho Tire Co., v. Carmichael, 526 U.S. 137, 149–150 (1999); Daubert, 509 U.S. at


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593–94. While trial courts have “broad latitude” to determine reliability, Sardis, 10 F.4th

at 281 (quoting Nease, 848 F.3d at 299), they still must engage in the gatekeeping process

and not simply “delegate the issue to the jury.” Sardis, 10 F.4th at 281. Even rigorous

cross-examination is not a substitute for this Court’s gatekeeping role. See Nease, 848 F.3d

at 231.

          In certain situations, when an expert relies upon his experience and training, and not

a specific methodology, a modified analysis applies. See Freeman v. Case Corp., 118 F.3d

1011, 1016 n.6 (4th Cir. 1997). When addressing an expert whose methodology is

grounded in experience, courts use three factors: “1) how the expert’s experience leads to

the conclusion reached; 2) why that experience is a sufficient basis for the opinion; and 3)

how that experience is reliably applied to the facts of the case.” SAS Inst., Inc. v. World

Programming Ltd., 125 F. Supp. 3d 579, 589 (E.D.N.C. 2015) (citing SMD Software v.

EMove, Inc., 945 F. Supp. 2d 628, 644 (E.D.N.C. 2013)); see also Nat’l Ass’n for Rational

Sexual Offense L. v. Stein, No. 1:17-CV-53, 2021 WL 736375, at *3 (M.D.N.C. Feb. 25,

2021).

          Finally, because “[e]xpert evidence can be both powerful and quite misleading

because of the difficulty in evaluating it . . . the judge in weighing possible prejudice

against probative force under Rule 403 . . . exercises more control over experts than over

lay witnesses.” Daubert, 509 U.S. at 595 (emphasis added) (quoting Jack B. Weinstein,

Rule 702 of the Federal Rules of Evidence Is Sound; It Should Not Be Amended, 138 F.R.D.

631, 632 (1991)). As such, “the importance of [the] gatekeeping function cannot be


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overstated.” Sardis, 10 F.4th at 283 (alteration in original) (quoting United States v. Barton,

909 F.3d 1323, 1331 (11th Cir. 2018)).

       B.     Dr. Robie Is Not Qualified To Offer an Expert Opinion on Any Issue in
              This Case.

       In order to render expert testimony, the witness must possess the requisite

“knowledge, skill, experience, training, or education” that would assist the trier of fact.

Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993) (quoting Fed. R. Evid. 702); Wright v.

United States, 280 F. Supp. 2d 472, 478 (M.D.N.C. 2003) (“A witness may testify as to his

specialized knowledge so long as he is qualified as an expert based on any combination of

knowledge, skill, experience, training, or education.”). If not qualified, the expert’s

testimony is unreliable. Reliastar Life Ins. Co. v. Laschkewitsch, No. 5:13-CV-210-BO,

2014 WL 1430729, at *1 (E.D.N.C. Apr. 14, 2014).

       Dr. Robie lacks the knowledge, skill, experience, training, or education necessary

to qualify him as an expert. Dr. Robie practices internal medicine and has no other board

certifications, specializations, or areas of practice. Robie Dep. 9:21–10:2; 11:6–11. 3 Dr.

Robie acknowledged in his testimony that he is not an expert in the diagnosis or treatment

of gender dysphoria, nor has he ever treated a patient for gender dysphoria. Robie Dep.

11:12–23. Moreover, Dr. Robie testified that he is not familiar with the Endocrine

Society’s Clinical Practice Guidelines on Treatment of Gender Dysphoria or Gender

Incongruent Persons. Robie Dep. 33:23–34:1. Nor does Dr. Robie have a position on the


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 A true and accurate copy of transcript excerpts of the deposition of Dr. Robie (“Robie
Dep.”) is attached as Exhibit B to the Declaration of Deepika Ravi.
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validity of the World Professional Association for Transgender Health Standards of Care

for Treatment of Gender Identification Disorder (“WPATH Standards of Care”), Robie

Dep. 33:3–10, which are authoritative standards of care for treatment of gender dysphoria.

See, e.g., Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 595 (4th Cir. 2020), as

amended (Aug. 28, 2020) (the WPATH Standards of Care “have been recognized by

various courts, including this one, as the authoritative standards of care”). And, when

asked if he is “familiar with the DSM 5, the diagnostic and statistical manual of mental

disorders definitions,” Dr. Robie simply responded, “No.” Robie Dep. 33:19–22.

       Dr. Robie’s lack of experience with diagnosis and treatment of gender dysphoria

renders him unfit to offer an expert opinion in this matter. See, e.g., Mod. Auto. Network,

LLC v. E. All. Ins. Co., 416 F. Supp. 3d 529, 539 (M.D.N.C. 2019) (affirming the district

court’s exclusion of an expert because the expert lacked experience relevant to the matters

at issue).

       Beyond his lack of practical experience, Dr. Robie testified that he has never taught

on the subject of gender dysphoria, Robie Dep. 12:21–25; and he has never conducted

research on the treatment of gender dysphoria, Robie Dep. 13:4–6, been published in the

area of gender dysphoria, Robie Dep. 13:1–3, or peer reviewed any literature on this

subject, Robie Dep. 14:8–10. And while Dr. Robie stated he has read medical literature

regarding gender dysphoria, he testified that his review was limited to the six months

preceding his deposition, and he could not recall the authors of any literature he reviewed.

Robie Dep. 13:7–14:7.      Dr. Robie’s lack of any teaching, research, or peer review


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experience with the medical care denied to Plaintiffs in this lawsuit disqualifies him from

offering an expert opinion in this matter. See, e.g., Lebron v. Sec’y of Fla. Dep’t of Child.

and Fams., 772 F.3d 1352, 1369 (11th Cir. 2014) (disqualifying purported expert who did

not “propos[e] to testify about matters growing naturally and directly out of research [he

had] conducted independent of the litigation” (alteration in original) (quoting Fed. R. Evid.

702, Advisory Comm. Notes (2000 Amendments))).

       Defendants also designated Dr. Robie to provide expert testimony about “the

Board[] [of Trustees’] consideration of requests that the Plan eliminate the current coverage

exclusion for gender transition surgery and related hormone treatment.” State Health Plan

Disclosures at 6. But this is not a subject on which Dr. Robie can be designated as an

“expert” because Dr. Robie’s testimony on this subject amounts to nothing more than a

recitation of his recollection of an October 2018 Board meeting during which such requests

were received. Robie Dep. 19:19–23:10; 81:22–83:14. Dr. Robie’s mere presence at the

meeting cannot qualify him to provide expert testimony about the meeting. And, when

asked what testimony he could provide about the Board’s consideration of requests that the

State Health Plan eliminate the exclusion, Dr. Robie responded, “[t]he cost of the gender

transition surgery and related hormone treatment.” Robie Dep. 20:7–11. Yet Dr. Robie

admits he is not an expert in the cost of treatment for gender dysphoria, Robie Dep. 11:24–

12:1, and as discussed in more detail below, he is not qualified to provide reliable expert

testimony on this issue.




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         C.    Dr. Robie’s Opinions and Testimony Have No Relevance to This Case.

         This case revolves around whether the Health Plan Defendants’ exclusion of

coverage for gender-confirming healthcare treatment violates Plaintiffs’ equal protection

rights and discriminates against them on the basis of their sex in violation of Title VII and

the Affordable Care Act. Dr. Robie’s opinions are not relevant as they will not help the

“trier of fact to understand the evidence or to determine a fact in issue.” Nease, 848 F.3d

at 229 (quoting Daubert, 509 U.S. at 591). Simply put, Dr. Robie’s opinion does not “fit”

with the facts at issue. Bourne ex rel. Bourne v. E.I. DuPont de Nemours & Co., 85 F.

App’x 964, 966 (4th Cir. 2004); Viva Healthcare Packaging USA Inc. v. CTL Packaging

USA Inc., 197 F. Supp. 3d 837, 846 (W.D.N.C. 2016) (“The test for relevance, or fit,

considers whether expert testimony proffered in the case is sufficiently tied to the facts of

the case that it will aid the jury in resolving a factual dispute.” (quotation marks omitted)

(quoting Daubert, 509 U.S. at 591)).

         For example, although Dr. Robie has been designated to opine about the medical

knowledge he has shared with other Board members, Dr. Robie testified that the medical

knowledge he has shared pertains to coverage of continuous glucose monitors for diabetic

patients and biological agents for cancer treatment, and COVID management, care, and

status. Robie Dep. 23:11–25:12; 31:19–32:14. These issues bear no relation to the

treatment of gender dysphoria involved in this case, and Dr. Robie could not recall any

other medical knowledge he has shared with the Board. Robie Dep. at 24:20–25; 31:19–

32:14.


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       Dr. Robie also provides testimony that, while internally inconsistent, simply does

not contravene the relief Plaintiffs seek here. When asked whether surgical care for gender

dysphoria can be medically necessary, Dr. Robie characterized it as “elective,” but defines

“elective” simply to mean “it could be scheduled at an opportune time for the patient and

surgeon.” Robie Dep. at 68:9–69:13. When asked, “is it correct that some elective care

can be medically necessary as determined by the doctor/patient,” Dr. Robie acknowledged,

“If that’s determined, the answer is yes.” Robie Dep. 86:5–8. Dr. Robie gave inconsistent

testimony on this question: earlier in his deposition, when asked whether if there is ever “a

circumstance where a provider and patient together could determine that gender confirming

care is medically necessary,” Dr. Robie answered, “I don’t know.” Robie Dep. at 36:22–

37:2. Regardless, he does not dispute that treatment for gender dysphoria can be medically

necessary.    His opinions thus are irrelevant since Plaintiffs simply seek the same

opportunity to make individualized showings of medical necessity afforded to all other

State Health Plan participants.

       D.     Dr. Robie’s Opinions and Testimony Are Unreliable.

       Expert testimony should only be admitted if it is sufficiently reliable. Dr. Robie’s

opinions are unreliable because they are not grounded in any practical experience,

research, or methodology.

       While not an exhaustive list, when evaluating whether an expert’s methodology is

reliable, a trial court will examine:

       (1) whether the expert’s theory or technique can be (and has been) tested; (2)
       whether the theory or technique has been subjected to peer review and
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       publication; (3) the known or potential rate of error inherent in the expert’s
       theory or technique; and (4) whether the expert’s methodology is generally
       accepted in his field of expertise.

Sardis, 10 F.4th at 281 (quotation marks omitted) (citing Nease, 848 F.3d at 229).

       Dr. Robie fails to meet any of these factors. Again, Dr. Robie testified that he has

never taught on the subject of gender dysphoria, Robie Dep. 12:21–25, and he has never

conducted research on the treatment of gender dysphoria, been published in the area of

gender dysphoria, Robie Dep. 13:1–6, or peer reviewed literature on this subject, Robie

Dep. 14:8–10. It is not surprising that Dr. Robie wholly fails to meet any of the threshold

criteria to qualify him as an expert because Dr. Robie freely admits that he is not an

expert on diagnosis or treatment of gender dysphoria. Robie Dep. 11:12–23.

       Even putting the Daubert factors aside, although Dr. Robie claims his experience is

sufficient foundation for his opinions, he fails to address how this purported experience

leads to his conclusions and how such experience is reliably applied here. See SAS Inst.,

Inc., 125 F. Supp. 3d at 589; see also Nat’l Ass’n for Rational Sexual Offense L., 2021 WL

736375, at *3.

       For example, Dr. Robie has been designated to testify that “in order to provide

diagnostic and medical treatment that meets a professional standard of care, primary care

physicians must know the chromosomal sex of patients.” State Health Plan Disclosures at

6. Defendants point to Dr. Robie’s testimony for the principle that “competent medical

care requires every diagnosing physician to know and to consider the patient’s biological

sex.” Defs.’ Resp. in Opp’n to Pls.’ Mot. for Summ. J. 26, ECF No. 197. Yet, Dr. Robie


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testified that in his own practice, he does not confirm the chromosomal makeup of his

patients, Robie Dep. 29:14–16; 88:1–4, and that he will ask patients about their

chromosomal makeup “[o]nly if the nurse says I need to. I can’t recall recently where I’ve

been asked to do that.” Robie Dep. 87:11–15. Dr. Robie also testified that, despite having

been in practice for forty-five years, he formed this opinion only when the present case was

filed, around 2019. Robie Dep. 30:3–8. Dr. Robie’s recently formed opinion is wholly

disconnected from his own experience and does not qualify as an expert opinion. See, e.g.,

Nat’l Ass’n for Rational Sexual Offense L., 2021 WL 736375, at *3 (excluding expert

where offering party failed to establish how expert’s “experience leads to his conclusions

nor how those experiences have been reliably applied to the facts”); Lebron, 772 F.3d at

1369 (disqualifying expert who did not propose “to testify about matters growing naturally

and directly out of research [he had] conducted independent of the litigation” (alteration in

original) (emphasis added) (quoting Fed. R. Evid. 702, Advisory Comm. Notes (2000

Amendments))).

        Nor does Dr. Robie have substantial experience on which to draw. By his own

testimony, in his forty-five years as a practicing physician, Robie Dep. 78:3–5, to his

knowledge, he has treated only four patients who identify as transgender, Robie Dep.

88:15–22, and has never treated a patient for gender dysphoria, Robie Dep. 11:12–23. Dr.

Robie has never treated a transgender adolescent or a transgender child. Robie Dep. 88:15–

89:5.




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       Dr. Robie testified to his opinion as to gender-confirming surgery for adolescents,

Robie Dep. 78:25–79:14, but then supported his opinion with testimony about his “personal

experience” with this issue based on his friendship with the parents of a transgender child

who underwent “transgender surgery” but who was not Dr. Robie’s patient. Robie Dep.

79:15–23. Such anecdotal experience is insufficient to qualify Dr. Robie, an internal

medicine practitioner with no specialization in treatment or diagnosis of transgender

individuals, as an expert in this area. See, e.g., Hartke v. McKelway, 526 F. Supp. 97, 100–

01 (D.D.C. 1981) (family practitioner unqualified to establish the standard of care for

surgical procedure, where the practitioner “ha[d] never performed the operation in

question,” “had no training or experience with that procedure,” and a “major reason for her

conclusion that there was negligence was that the result was unfavorable”); Cooper, 259

F.3d at 200 (affirming the exclusion of an expert who “asserted what amounted to a wholly

conclusory finding based upon his subjective beliefs rather than any valid scientific

method”).

       Although Dr. Robie testified during his deposition regarding the alleged cost of

providing gender-confirming care, Dr. Robie admits he is not an expert in the cost of

treatment for gender dysphoria. Robie Dep. 11:21–12:1. Dr. Robie’s own testimony bears

out his limited knowledge of the cost of gender-confirming care.

       Defendants cite Dr. Robie’s testimony regarding his goal to “cut the cost of

healthcare for our state workers” to support their claim that limiting health care costs is a

“legitimate purpose.” Defs.’ Resp. in Opp’n to Pls.’ Mot. for Summ. J. 33–34, ECF No.


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197 (citations omitted). Yet Dr. Robie testified that he was not aware of the total cost that

the State Health Plan incurred for covering gender-confirming care in 2017. Robie Dep.

37:9–12. Attempting to offer an opinion about cost without gathering the centrally relevant

data on this point—i.e., information about the State Health Plan’s actual cost of this care

in 2017—cannot be supported.

       Nor can Dr. Robie’s failure to consider the data actually relevant here be

rehabilitated by his Internet research. When Dr. Robie testified that he “looked at the cost”

of “transgender surgeries,” he acknowledged that his research was limited to an Internet

browser search in 2008, a review of only “[f]ive or six” websites around August 2018 and

October 2018, and another Internet search the week and the day prior to his deposition.

Robie Dep. 38:1-39:15; 50:8–51:12; 56:11–21; 78:6–11, Ex. 4. Dr. Robie testified that he

spent approximately 2.5 hours total on this Internet research. Robie Dep. 78:6–11. Dr.

Robie could not recall many of the sources he reviewed, Robie Dep. 49:4–17; 50:25–51:2,

55:10–56:4, could not recall any of the dates of the website content, and testified that apart

from his limited Internet research, he had never otherwise researched the cost of gender-

confirming surgery. Robie Dep. 38:7–43:18; 45:19–46:4, 51:18–53:5. Nor has Dr. Robie

ever consulted with other medical providers on how much surgery to treat gender dysphoria

might cost. Robie Dep. 43:19–25.

       When Dr. Robie testified to the “average cost” of gender-confirming surgery, he

could not recall which website presented that figure. Robie Dep. 41:3–11. Dr. Robie

further testified that the figure he came up with amalgamated the costs for multiple


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different procedures, even though he admitted not every patient may need or want each

procedure because care is “very patient specific.” Robie Dep. 65:7-23.

       As to his own experience, Dr. Robie testified to a single anecdote, which he

“guess[ed]” was in approximately 2008, see Robie Dep. 48:11–12, with a transgender

individual that he helped look into the cost of gender-confirming surgery. Robie Dep.

47:14-48:1. However, even that anecdote is internally inconsistent, referring to the

individual as having “no insurance” and then speaking of the cost for the individual “with

that insurance.” Id.

       Such limited research and a single anecdotal experience do not qualify Dr. Robie as

an expert in this area, especially given his own admission that he is not an expert in the

cost of treatment for gender dysphoria. See, e.g., Gen. Elec. Co. v. Joiner, 522 U.S. 136,

146 (1997) (“Nothing in either Daubert or the Federal Rules of Evidence requires a district

court to admit opinion evidence that is connected to existing data only by the ipse dixit of

the expert. A court may conclude that there is simply too great an analytical gap between

the data and the opinion proffered.”).

       E.     Dr. Robie’s Opinions and Testimony Lack Probative Value and Are
              Thus Inadmissible Under Federal Rule Of Evidence 403.

       Finally, the Court should exclude evidence if its introduction will result in unfair

prejudice, confusion of the issues, or misleading testimony. Fed. R. Evid. 403. As noted

above, Dr. Robie offers no opinions on any factual dispute in this case, and, in any event,

the opinions he offers are irrelevant and unreliable. Thus, consideration of Dr. Robie’s

testimony would waste time and create confusion. Accordingly, Dr. Robie’s testimony
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also fails to satisfy the requirements of Federal Rule of Evidence 403 and should be

excluded.

VI.        CONCLUSION

           WHEREFORE, based on the foregoing, Plaintiffs respectfully request that this

Court grant the instant motion and exclude Dr. Robie’s purported expert testimony because

it does not meet any of the indicia for admissibility under Daubert and the Federal Rules

of Evidence. Accordingly, this Court should exclude Dr. Robie’s opinions and testimony

in full.



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                          CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3(d)(1)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.


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                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

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